      Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.1 Page 1 of 8




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                        IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH




UNITED STATES OF AMERICA,                                             FELONY
                                                                     COMPLAINT
                       Plaintiff,
                                                       VIOLATION:     '2: 1-0Mj ~ / 5- DBP
vs.
                                                       Count 1: 18 U.S.C. § 844(i), Arson in
LATROI DEVON NEWBINS,                                  Interstate Commerce

                       Defendant.
                                                       Chief Magistrate Judge Dustin B. Pead




         Before the Honorable Dustin B. Pead, United States Chief Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:

                                              COUNT 1
                                          18 U.S.C. § 844(i)
                                    [Arson in Interstate Commerce]

         On or about May 30, 2020, in the District of Utah,

                                    LATROI DEVON NEWBINS,
   Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.2 Page 2 of 8




Defendant herein, maliciously damaged and destroyed, and attempted to maliciously damage

and destroy, by means of fire and explosives, a vehicle, to wit: a Salt Lake City Police

Department patrol car, used in interstate commerce and in activities affecting interstate

commerce, and did aid and abet therein; all in violation of 18 U.S.C. §§ 844(i) and 2.

      AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT

       Complainant, JEFFREY T. WRIGHT, being duly sworn, hereby states:

   1. I, Jeffrey T. Wright, am a Special Agent with the United States Department of Justice,

       Federal Bureau of Investigation, and have been employed in that capacity for

       approximately 12 years. I am currently assigned to the Salt Lake City Division of the

       FBI and have primary investigative responsibility for federal crimes related to

       national security and domestic terrorism. I gained experience in the conduct of such

       investigations through previous case investigations, formal training, and in

       consultation with law enforcement partners in local, state and federal law enforcement

       agencies. I have been trained to investigate federal crimes and have investigated an

       array of complex federal crimes.

   2. The statements in this affidavit are based, in part, on information provided by law

       enforcement officers, other investigators with knowledge of this investigation, and

       witnesses who observed the incident, as well as information obtained from the State

       of Utah. Since this affidavit is being submitted for the limited purpose of securing a

       criminal complaint I have not included every fact known to me concerning this

       investigation. Rather, I have set forth only the facts necessary to establish probable


                                               2
Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.3 Page 3 of 8




   cause for the complaint.

                                Statement of Probable Cause

3. On May 30, 2020, protestors took to the streets of Salt Lake City, Utah, to call for

   justice after the killing of George Floyd on May 25, 2020 in Minneapolis, Minnesota.

   Similar protests occurred in other cities across the United States in the days following

   May 25, 2020. Some of the protests devolved into vandalism, property damage, arson

   and other riotous acts.

4. On May 30, 2020, protestors assembled on the streets of downtown Salt Lake City.

   Some of the protestors were non-residents of Utah.

5. The downtown area of Salt Lake City, Utah hosts myriad companies, commercial

   properties, retail establishments, restaurants, gas stations, public facilities and other

   businesses that were open for business on May 30, 2020, during the time of the

   protest.

6. During the protest, Salt Lake City Police Officers and other law enforcement

   personnel were deployed throughout the downtown area to protect individuals,

   businesses, and property. Police officers used law enforcement vehicles throughout

   the protest to transport law enforcement personnel, to provide emergency aid and

   assistance, and to serve as a resource for crowd control measures.

7. The Salt Lake City Police Department regularly conducts business in interstate

   commerce, for instance by purchasing vehicles and other equipment and supplies in

   interstate commerce. The activities of the Salt Lake City Police Department in


                                            3
Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.4 Page 4 of 8




   enforcing laws also affect interstate commerce.

8. On the afternoon of May 30, 2020, the peaceful protest in downtown Salt Lake City

   devolved into acts of destrnction and violence. Rioters near the Salt Lake City library

   at 200 East 400 South overturned a Salt Lake City Police Department patrol car.

   Moments later rioters set the patrol car ablaze.

9. Video footage of the riot displays rioters standing on top of the overturned patrol car.

   Video footage also shows individual rioters using fire and explosives to damage and

   destroy the patrol car.

10. The patrol car was engulfed in flames, as shown in the photograph below:




   II

   II



                                           4
Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.5 Page 5 of 8




11. The patrol car was completely destroyed, as shown in the photograph below:




12. On May 31, 2020, ATF Special Agent Certified Fire Investigator Candidate Tyler

   Olson and Salt Lake City Fire Investigators examined the destroyed patrol car. The

   patrol car is a Chevrolet Impala. From the physical examination of the vehicle, and

   video and photographic evidence, it is SA Olson's opinion that the destruction of the

   patrol car was incendiary in nature.

13. A review of video footage from May 30, 2020 shows an individual running towards

   the patrol vehicle from the rear and throw what appears to be combustible material

   into the flames which appeared to act as kindling increasing the flames. This

   individual is described as an African American male wearing a black shirt with white

   lettering, blue shorts, a camouflage print hat, and eye glasses, as show in the

   photograph below:




                                           5
Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.6 Page 6 of 8




14. This individual was observed in video footage standing on top of the overturned

   patrol vehicle prior to being ignited, as shown in the photograph below:




                                          6
Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.7 Page 7 of 8




15. This same individual was observed on June 1, 2020 in news outlet footage being

   interviewed by reporters. The individual was observed wearing a white tee shirt,

   camouflage hat, and eye glasses. This same individual was observed throughout the

   evening talking to the demonstrators using a megaphone, appearing to be leading the

   demonstrators.

16. In reviewing open source footage from news outlets, a reporter is seen walking

   towards the individual and asks for his name. The individual responds to the reporter

   stating his name is "Latroi".

17. On June 2, 2020 law enforcement records were ran to find the identity of Latroi.

   Records show a Latroi Devon Newbins residing in Salt Lake City, Utah. An open

   source search for Latroi Newbins results in a news article from Fox 13 News stated

   "La'Troi Newbins negotiated a peaceful exit for the group without mass arrests." This

   news article is describing what was observed on news outlets from June 1, 2020.

18. Your affiant reviewed Utah Driver's License records for Latroi Devon Newbins,

   including the photograph on file. I compared the Driver's License photograph for

   Newbins to the photographs and video recordings described herein from May 30,

   2020. Based upon that comparison, the individual in the Driver's License photo

   appears to be the same individual described in paragraphs 13-15.

19. Based on the foregoing information, I respectfully request an arrest warrant be issued

   for Latroi Devon Newbins for a violation of 18 U.S.C. § 844(i).




                                          7
   Case 2:20-cr-00182-DBB Document 1 Filed 06/03/20 PageID.8 Page 8 of 8




       I swear that this information is trne and correct to the best of my knowledge,

information, and belief.

       DATED this 3rd day of June 2020.



                                                      Isl Jeffrey T. Wright
                                                      JEFFREY T. WRIGHT
                                                      FBI Special Agent

Approved as to fonn:

JOHN W. HUBER
United States Attorney
JONATHAN          Digitally signed by JONATHAN
                  YEATES
YEATES        /'··Dare: 2020.06.03 oa:20:s9 ~06'00·

J. DREW YEATES
Assistant United States Attorney


       The affiant appeared before me by telephonic conference on this date pursuant to Fed.

R. Crim. P. 4.1 and affirmed under oath the content of this affidavit and application.




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